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10                         UNITED STATES DISTRICT COURT
11                       SOUTHERN DISTRICT OF CALIFORNIA
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     KERRY O’SHEA, on behalf of himself             Case No. 3:14-cv-00894-L-RBB
13   and all others similarly situated.,
14                                                   ORDER:
           Plaintiff,
15
                                                     (1) DENYING WITHOUT
16         v.
                                                         PREJUDICE JOINT MOTION
17                                                       FOR PRELIMINARY
     AMERICAN SOLAR SOLUTION, INC.
                                                         APPROVAL OF SETTLEMENT
18   a California corporation,
                                                         [Doc. 158]
19         Defendant.
                                                     (2) GRANTING PLAINTIFF’S
20                                                       MOTION TO WITHDRAW
21                                                       ATTORNEY [Doc. 159]
22         Pending before the Court in this class action alleging violations of the
23   Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227 et seq. is the joint
24   motion for preliminarily approval of class action settlement. The motion is denied
25   without prejudice for the following reasons:
26   ///
27   ///
28   ///
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1          1.     The representation in the motion and the proposed class notice that class

2    members will receive $20 in damages is problematic. Twenty dollars ($20) is the

3    maximum class member payment provided under the settlement agreement. The

4    actual amount depends on the number of claims.              However, based on the

5    representations in Plaintiff's motion, the class members will not receive $20 unless

6    the class participation rate is extremely low or the factual representations in support

7    of the proposed settlement are inaccurate by a wide margin. Pursuant to the settlement

8    agreement, Defendant is to set aside “a Settlement Fund for a total amount of

9    $1,250,000 to pay Approved Claims[.]” Doc. 158-3 at 8. From that amount, a

10   potential $170,000 is deducted attorney’s fees an estimated $125,000 for notice and

11   settlement administration costs, and $15,000 for requested class representative service

12   compensation. After deductions, approximately $940,000 is available to pay the class

13   members. Defendant estimates that 220,007 members belong to the class called by

14   Defendant during the class period. If the estimate is accurate, and that every class

15   member submits one Approved Claim for a cellphone call, each will receive $4.27.

16   While the Court recognizes that it is very uncommon in consumer class actions for
17   every class member to submit a claim, the class members could receive more of a
18   benefit from proposed Settlement Fund even if the claim rate was low. "[I]t is not
19   unusual for only 10 or 15% of the class members to bother filing claims." Briseno v.
20   ConAgra Foods, Inc., 844 F.3d 1121, 1131 (9th Cir. 2017) (internal quotation marks
21   and citation omitted). Ten or 15% are "low participation rates." Id. If only 15% of
22   the class submit Approved Claims as defined in the Settlement Agreement, their
23   estimated recovery could exceed $20 while accounting for other costs. As such, the
24   Court questions why class members would only be afforded a maximum benefit of
25   $20 per Approved Claim per individual if the claims rate is less than three percent
26   (3%). The joint motion does little to answer this question. A realistic estimate of
27   individual class member recovery is relevant to the settlement fairness determination
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1    under Federal Rule of Civil Procedure 23(e), see In re Bluetooth Headset Prod.

2    Liability Litig., 654 F.3d 935, 946 (9th Cir. 2011), and to the adequacy of the proposed

3    notice to the class, see In re Online DVD Rental Antitrust Litig., 779 F.3d 934, 946

4    (9th Cir. 2015). The estimate of class member recovery provided in the motion and

5    proposed notice appears inaccurate on its face and lacks a plausible explanation.

6          2.     The joint motion wholly fails to identify a cy pres recipient in lieu of

7    direct distribution of damages to silent class members. Federal courts frequently

8    apply the cy press doctrine to allow for an “aggregate calculation of damages, the use

9    of summary claim procedures, and distribution of unclaimed to indirectly benefit the

10   entire class.” Dennis v. Kellogg Co., 697 F.3d 858, 865 (9th Cir. 2012) (quoting Six

11   Mexican Workers v. Ariz. Citrus Growers, 904 F.2d 1301, 1305 (9th Cir. 1990)). A

12   cy pres award must be “the next best distribution” to compensating the class members

13   directly which ensures the settlement retains a logical connection to the plaintiff class

14   and the underlying claims. Six Mexican Workers, 904 F.2d at 1308. A cy pres award

15   must be “guided by (1) the objectives of the underlying statute(s) and (2) the interests

16   of the silent class members, . . . and [(3)] must not benefit a group too remote from
17   the plaintiff class.” Id. at 1308-09 (internal citations and quotation marks omitted).
18   Accordingly, to determine “whether the class settlement, take as a whole, is fair,
19   reasonable, and adequate to all concerned,” a court must determine “whether the
20   distribution of the approved class settlement complies with [the Ninth Circuit’s]
21   standards governing cy pres awards.” Nachshin v. AOL, LLC, 663 F.3d 1034, 1040
22   (9th Cir. 2011). Without designation of a cy pres award recipient and explanation of
23   the nexus to the plaintiff class, the Court cannot complete its analysis of the
24   settlement. Therefore, the settlement agreement and joint motion must be amended
25   consistent with this order.
26         3.     The proposed class long-form notice must be amended to indicate, on
27   Page One, the number of the question that explains the class members rights and
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1    options in this settlement. For example, to understand the steps necessary to “Attend

2    A Hearing[,]” the class must see question 22, so reference to the corresponding

3    question should be mentioned in addition to the current explanation on Page One.

4    Also, the Court notes that, in the “Am I included?” section on Page Two of the long-

5    form notice, the parties should modify the language beginning, “If you any question

6    about which class you are a member of,” because the Court only certified one class in

7    this case.   The parties should also review the notices for typographical errors.

8    Accordingly, the proposed notices must be amended consistent with this order.

9          4.     Federal Rule of Civil Procedure 23(e)(5) provides that "[a]ny class

10   member may object" to the proposed settlement. Although the parties may encourage

11   class members to provide written objections by a date certain, the Court is not inclined

12   to prohibit a class member from objecting, if he or she did not file written objections

13   or did not do so in a timely manner. Accordingly, the proposed notice must be

14   amended consistent with this order.

15         For the foregoing reasons, the parties’ motion for preliminary approval of class

16   action settlement [Doc. 158] is denied without prejudice to re-filing after curing the
17   foregoing defects.
18         Plaintiff seeks leave for attorney Tania Babaie’s (“Counsel”) withdrawal from
19   this litigation because she is no longer employed by the firm representing Plaintiff.
20   Defendants have not opposed Plaintiff’s request. Counsel has filed a proof of service
21   declaring Defendant has been served in compliance with Civil Local Rule 83.3. For
22   good cause shown, the Court GRANTS Plaintiff’s motion [Doc. 159].
23         IT IS SO ORDERED.
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25   Dated: June 12, 2019
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